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                                     1    Sean A. Woods (Arizona Bar #028930)
                                          Robert T. Mills (Arizona Bar #018853)
                                     2    MILLS + WOODS LAW, PLLC
                                          5055 North 12th Street, Suite 101
                                     3    Phoenix, Arizona 85014
                                          Telephone 480.999.4556
                                     4    docket@millsandwoods.com
                                          swoods@millsandwoods.com
                                     5    rmills@millsandwoods.com
                                          Attorneys for Plaintiffs
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                                     7
                                                                 UNITED STATES DISTRICT COURT
                                     8
                                                                          DISTRICT OF ARIZONA
                                     9
                                           James W. Denby; et al.,                       Case No.: 2:17-CV-00119-SPL
                                    10
                                                                 Plaintiffs,
                                    11                                                      PLAINTIFFS’ NOTICE OF
                                                         vs.                             READINESS FOR FINAL PRETRIAL
5055 North 12th Street, Suite 101
  MILLS + WOODS LAW, PLLC




                                    12     City of Casa Grande; et al.,                          CONFERENCE
   Phoenix, AZ 85014-2555




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         480.999.4556




                                                                Defendants.                  (The Honorable Steven P. Logan)
                                    14
                                    15          Through counsel undersigned and pursuant to the Court’s Case Management Order
                                    16
                                         entered October 26, 2021 (see Doc. 151 at 6:6-9), Plaintiffs hereby notify the Court of their
                                    17
                                         readiness for the setting of a Final Pretrial Conference in the above-captioned matter.
                                    18
                                    19 Defendants have indicated to Plaintiffs that they intend on filing an interlocutory appeal.
                                    20          RESPECTFULLY SUBMITTED this 12th day of April 2023.
                                    21
                                                                                   MILLS + WOODS LAW, PLLC
                                    22
                                    23
                                                                                   By     /s/ Sean A. Woods
                                    24                                                   Sean A. Woods
                                                                                         Robert T. Mills
                                    25                                                   5055 North 12th Street, Suite 101
                                                                                         Phoenix, AZ 85014
                                    26                                                   Attorneys for Plaintiffs

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                                    28
                                         Case 2:17-cv-00119-SPL       Document 217      Filed 04/12/23    Page 2 of 2




                                     1                               CERTIFICATE OF SERVICE
                                     2         I hereby certify that on April 12, 2023, I electronically transmitted the foregoing
                                     3 document to the Clerk’s Office using the ECF System for filing and transmittal of a Notice
                                     4 of Electronic Filing to the following ECF registrants:
                                     5 James M. Jellison, Esq.
                                       jim@jrlawaz.com
                                     6 Mark J. Robens, Esq.
                                     7 mark@jrlawaz.com
                                       JELLISON & ROBENS, PLLC
                                     8 18801 N. Thompson Peak Parkway
                                       Suite D235
                                     9 Scottsdale, AZ 85255
                                       Attorneys for Defendants David and Jane Doe Engstrom, Jacob H. Robinson, Christopher
                                    10 and Jane Doe Lapre, Sgt. Gragg and Jane Doe Gragg, and Rory Skedel
                                    11
5055 North 12th Street, Suite 101




                                               /s/ Ben Dangerfield
  MILLS + WOODS LAW, PLLC




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      Phoenix, AZ 85014




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         480.999.4556




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